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              UNITED STATES DISTRICT COURT - DISTRICT OF NEW HAMPSHIRE
                                 ANDRE BISASOR, Plaintiff,
                                             v.
             CRAIG S. DONAIS; RUSSELL F. HILLIARD; DONAIS LAW OFFICES, PLLC;
                  UPTON & HATFIELD, LLP; and MARY K. DONAIS, Defendants.
                                  Case No.1:23-cv-00374-JL

                 EMERGENCY MOTION TO SEAL THE 4-23-24 HEARING
1. I hereby move to seal the hearing today or at least to seal portions of the hearing that involve

    confidential or private matters. Grounds are as follows.

2. There are confidential items that I would like to discuss and that are likely to come up in the

    hearing today.

3. These items that need to be sealed would require sealing so that I can discuss them without

    violating privacy and confidentiality interests. Otherwise, I may not be able to properly present my

    points or arguments to the court.

4. NB: I do not intend to divulge confidential or sealed information to the public or to the defendants.

5. I am not sure how this would be done procedurally. If necessary, I ask for the hearing to be in

    camera with the judge, outside of access to the public and also outside of access to the defendants.

6. I also ask that matters that are already sealed not be divulged in the hearing by the court.

7. Given the urgent circumstances and the unfolding of the circumstances today, I was not able to

    seek concurrence from the defendants before filing this emergency motion.

8. Please rule on this motion as soon as possible before the hearing or at the hearing.

9. Please grant a pro se liberal construction to this pleading.

10. Please grant my request or grant any other relief the Court deems proper.

                                                                                  Respectfully submitted,
                                                                                      /s/ Andre Bisasor
                                                                                          Andre Bisasor
April 23, 2024
                                     CERTIFICATE OF SERVICE
             I certify that a copy of the foregoing was served to the defendants in this case.
                                                                                        /s/ Andre Bisasor
                                                                                            Andre Bisasor
